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                                                                      I)OCI~E'I' Nt~.s ~~m16m7161
                                                                      ~~:~3t~~)(SIL~
                               Plaintiff,
                                                                             .1    M   i
                 -agamst-

COUNTY OF SUFFOLK, SUFFOLK COUNTY
POLICE OFFICER DONALD SANTAMARIA in
his official and individual capacities, SUFFOLK
COL7NTY POLICE OFFICERS JOHN DOES 1-4
in their official and individual capacities,

                               Defendants.
                                                                                            ~   ~         ! j;


       PLAINTI~~', by and through his attorneys, The Law Offices of FreciericK K. Brewingion,

as and for his Amended Complaint as of right against the Defendants, respectfully sets forth:

                                                 •1f        t

        1.       This is an action for money damages against COUNTY OF SUFFOLK,SUFFOLK

                                                       .►

SUFFOLK COUNTY PC}LICE OFFICERS J(~~IN DOES 1-4, yet unknown and unidenrifiec~

~n~mbers of the Suffoll~ County Police Department, in their official and individual capacities,

(hereinafter referrea to as `~SC~'D QFFICERS"), fog committing acts under ~,o16r of the law.

depriving Plaintiff of rights secured by the Constitution and laws ofthe United Stags and State of

Flew Fork, as well as ciiscriminaiary Harassment, assault, batiery, infliction of ~~otic~tlal distress,

unreasonable,excessive and unnecessary use offorce,negligent supervision,failure to properly train,

fail~r~ t~ praperly supervise and negligence, all i~ ~i~lation of42 U.S.Q. §§19 3, 1981 9 1985 and

related State laws as stated herein.
          2.     Upon information and belief,DefendantSCPD OFFICERS discriminatorily harassed,

 assaulted,battered,used excessive and unnecessaryforce,arld negligently,intentionally,and without

 cause discharged a firearm into the vehicle of Plaintiff and said discharge being in the direction of

Plaintiff beat AL M. KII2BY, causing physical damage to the vehicle, emotional distress and fear

and other harm and extreme pain and suffering, in violation of Plaintiff's Constitutional and Civil

Rights.

        3,      Upan information and belief,DefendantSCPD OFFICERS,including but not limited

to POLICE OFFICER DONALD SANTAMARIA, without lawful authority, probable cause,

justification ar any lawful reason, except an intent tc~ tread Plaintiff differPnt~y based ~n his rice end

color and to deprive Plaintiffofhis rights, and the SCPD(J~FICERS'knowledge that their wrongful

conduct had the tacit authorization of the COUNTY OF SUFFOLK,and other S~PD t}FFICERS,

upon accosting AL M. KIRBIT, who was without provocation, reason, probable cause car threat to

his own safety ar the safety of others, proceeded to use potentially deadly and unnecessary farce,

and negligently, purposefully, intentionally, and maliciously discharged a firearm into the car and

in the direction of AL M, ~IRBY's body, causing great fear, emotional upset, property damage,

exacerbation cif conditions and other harm without care or consideration to the acts Ieading to serio~~s

injuries, damage, stress and extreme pain and suffering.

       4.       Upon information and belief, Defendants COUNTY C}F SU~C?LK, and S~PD

QFFICERS9 failed to properly administrate, investigate, supervise and discipline the actions of

Defendant SCPD OFFICERS, including but not limited to POLICE OFFICER DONALD

SANTAMARIA before, during, anct after the use of potentially deadly and excessive force, abuse

of process, assault and battery and other wrongful acts against Plaintiff AL M. KIRBY.
        5,       Upon information and belief, COUNTY OF SUFFOLK was negligent in training,

hiring,end supervising Defendant SCPI3 OFFICERS,taus leading to the unjustified exces~i~e force,

battery, assault, and abuse of process.

        6.      Upon information and belief, COUNTS OF SUFFOLK and SCPD OFFICERS are

liable for the violation of rights, discriminatory harassment, assault, battery, excessive force, and

improper restraint because the COUNTY OF SUFFOLK, SCPD OFFICERS, and have ignared,

condoned, and permitted a pattern Qf excessive force and abuse of process, and have failed to

discipline the SCPD OFFICERS, including but nat limited to POLICE OFFICER DONALD

~~iNTANiARIA invaived in such incidents, and failed to investigate, with the result that afficers

of COUNTY OFSUFFOLK and SCPD OFFICERS,including but not limited to POLICE OFFICER

DOl~IALD SANTAM4RIA, are eneauraged to be~ie~e that ~ney can violate the rights of persons

based an race car generally such as the P~ain~iff AL 1VI. KIRBY with impunity,and that the COUNTY

OF SUFFOLK and SCPD OFFICERS have acted and continue to act in violation of individual

rights ecrnstituting, their policy.

                                      ' /              j   i

        7.      This action is 1~rought pursuant to 42 U.~.~. ~§1983, 1985, and the Pir~t, Fc~u~-th,

Fifth, and Fourteenth Amendments to the United States Constitution. Jurisdiction is founded upon

28 U.S.C, ~§1331, 1343(3)and(4} and the aforementioned statutory and constitutional provisions.

Plaintiff further invokes pendentjurisdiction of this Court pursuant to 28 U.S.C.§1367 to hear and

decide any aid all claims arising under State law.

        8.      Prior hereto and within the proper time allotted, Plaintiffs filed a Notice of Claim in

compliance with General Municipal Law §50 et. seq. and CPLR X215 as against each municipal


                                                 -3-
Defendant. More than 30 days have elapsed and Defendants have failed and refused to pay or adjust

game. Plaintiff has complied with his obligations under the General Municipal ,awe do December

29,2016,Plaintiff duly filed his complaint,no answer was received on that initial complaint and this

is tie first amended complaint, filed as of right.

       9.      Venue for this action is the Eastern DisCrict of New York based on where the actions

complained of herein occurred.

                                             PARTIES

        10.    During all times mentioned in this Complaint, Plaintiff, Al M. Kirby {hereinafter

"PLAII~1"~IFF°` or "MR. KIRB~"},is a 49 _year old African-American, Mack, Veteran of the L~nitea

States Marine Corps, born on August 26, 1967, currently residing in the County of Suffolk and

having resided in the County of Suffolk at the time of the incident herein.

        11.    During all times mentioned in this Complaint,Defendant COUNTY OF SUFFOLK

(hereinafter the"Ct7UNTY")is a duly constituted municipal corporation of the State of New York,

and isl~vas the employer of the Suffolk County Police Department and the Department's Police

Qffieers and Suffolk County District Attorney's Office, and its District Attorneys.

        12.    I.~uring all times ~-nentiane~ in this Complaint,Defendant SCPD OFFICERS were at

all times herein mentioned police officers, employed by the COUNTY under the direction of

Defendants, the SCPD OFFICERS were acting in furtherance of the scope of their employment,

acting under color of law, to wit under color of statutes, ordinances, regulations, policies, customs

and ~sageJ of the Sate cif New work andlar the City of New York.

        13.     During all times stated herein, and upon information and belief, Defendant 5CPD

OFFICER DONALD SANTAMARIA,{hereinafter the"OFFICER"or"SANTAMARIA"}is a male


                                                     -4-
White police officer and employed by the COUNTY OF SUFFOLK under the direction of the



individual and official capacities.

        14.    During all times mentioned in this Complaint,Defendant SCPD OFFICERS 1-4 were

state actors acting in their of~ici~l capacities and were employed by the CQUNTY acing under the

direction ofthe COUNTY,and Suffolk County Police Department,wha,upon information and belief

are White males.

        15.    During all times mentioned in this Complaint,Defendants,each a~them, were acting

under color oflaw,to wit, under color of Constitution, statutes, ordinances, haws,rules, regulations,

policies, customs, and usages of the State of New York andlor County of Suffolk.

        16,    During all times mentioned in this Complaint,Defendants, each of them,separately

and in concert, engaged in acts and omissions which constituted deprivation of the eonstitutianal

rights, privileges and immunities of the Plaintiff, and while these acts were carried out under color

oflaw,the Defendants had nojustification or excuse in law;the acts were instead gratuitous,illegal,

improper and unrelated to any activity in which the officers may appropriately and legally engage

in the course of protecting persons, property, or insure civil order.

        17.    During all times mentioned in this Complaint,Defendants had the power and the duty

to restrain the other Defendants and prevent Them from violating the law and the rights of the

Plaintiff; each of the Defendants failed and refused to perform that duty and failed and refused

restrain the ether Defendants, t~ere~y becoming a party and acting ~n concert to harm and bring

about the injuries inflicted upon the Plaintiff.
       18.    :During all times mentioned in this Complaint,Defendants had the power and the duty

to conduct a full and fair investigation of the SCPD OFFICERS. The L7efendants famed to timely

and sufficiently investigate the actions of the SCPD OFFICERS as stated herein.

                                     STAT~NIENT flF FACTS

       19.     At X11 times relevant to this Complaint Plaintiff X11 ~I, Kirby resided in Suffolk

County, New Yark.

       20.     Plaintiff Al M. Kirby is a veteran who served in the United States Marine Carps far

twelve years from 1985. He served in Saudi Arabia and Iraq during Desert Storm. He was

h~n~r~bl~ discharged i~ 1997.

       21.     Plaintiff is retired and has not worked since 2009 after being placed an complete

disability. He currently receives social security and veteran's assistance due za his injuries to his

kn~~s,neck,shoulder, back and hip. ~Ie also suffers from varicose veins, Carpal Tunnel's Syndrome

and is in need of a fu11 hip replacement.

       22.     Plaintiff has 5 biological children ranging in ale from 15 months to 26 years old,~vho

rely on him for financial support.

       23.     Can or about the early morning of January 30, ZOlb, Plaintiff, Al 1VI. Kirby tivas

driving a vehicle in Yaphank, Suffolk County Long Island on Main Street.

       '~4.    At the corner ~f Mein ~tr~et and River ~o~d h~ appr~a~h~d ~ step sz~n, and Plaintiff

continued around a sharp turn to the right.

       25.     As he completed his turn, he noticed lights coming from a police cruiser and

immediately pulled over traveling no more than 50 feet. Plaintiff placed the vehicle in park, rolled

down the window,turned off the vehicle and placed his hand on the steering wheel, waiting for the
police officer to approach.

        26.     ~s he waited for, wha he now knows was officer SANTAMARIA to approach,

Plaintiff heard pow, a laud pop which he recognized as a weapon's discharge, due to his military

twining and tune in the Marine Corps,

        2'7.    Plaintiff, in fear for his life, yelled three times to the officer, "yflu don't have to do

this". Whi1e Plaintiffs view was obscured by the lights of police cruiser which was shining directly

into his ear, he was sure that the discharge of the firearm came from the approaching police officer.

        28.     The firearm, which was in the possession of Defendant Santamaria was discharged

into the si~~ of P1a:ntiffs car in a ~ire~t lire with Plaintiff's laid;

        29.     After Officer SANTAMARIA fired his weapon, he told the Plaintiff to get out of the

vehicle and to walk backwards towards his voice. He was then told to get on his knees, and to place

his hands behind his head. Plaintiff complied to the best of his physical ability with each and every

instruction despite not knowing why he had been fired upon and despite the fact that he was in great

fear for his safety and life.

        3~}.    Plaintiff bent down on his knees, despite problems with his knees and hip, but could

not place his hands behind his head due to a previous injary for which he had titanium screws in his

neck. The Defendant Officer used unnecessary force to handle and secure Plaintiff.

        31,     Plaintiff was thin h~ndc~~ffed on the side of the s~re~t, while the block was f~~11y lit

up with police lights, sirens and spotlights. Plaintiff remained in this position for an unreasonable

time which caused him extreme pain and emaiianal distress. There was no explanation offered by

Defendants as to why or how a firearm was drawn on Plaintiff and no less discharged at him.
       32.      Plaintiff was approached by a Sergeant (John Doe 1} who asked if he had been

drinking that night. Ike was then given various field sobriety tests tc~ which he submitted. I~~

informed the Sergeant that he was a veteran, a fact that which was ignored and diminished by the

officers present. He was then taken ~o the 7th precinct and charged with Driving While Intoxicated..

       33.      As a result of Defendants' assaultive behavior, Plaintiff suffered great pain and

discamfart to his body, wrists,shoulders as well, and was treated with disrespect and abuse and now

suffers from Post-Traumatic Stress Disorder (Hereinafter "PTSD").

        34.     As a result of the excessive, unnecessary, deadly and unlawful force used by

D~fen~ant ~CPI7 C~F~'ICE~S,including but not limited toiefendant ~AI~T~'AMARIA,all ~f ~vhi~h

constituted extreme and outrageous conduct, Plaintiff suffered and continues to suffer severs and

extreme physical and emotional harm.

        35.     There was na reason or basis far drawing and discharging a gun on Plaintiff as part

of what was a routine traffic stop.

        36.     Plaintiff made no motions,took actions, showed no aggression and demonstrated no

furtive movements to raise any suspicion to cause a reasonable officer to draw his firearm, and no

less to discharge the firearm into Plaintiff ~ car in his direction.

        37.     Plaintiff continues to suffer emotionally and physically. He has been and continues

to 6e in treatment for the psychological damages and injuries caused by the actions of Defendants,

often coping with sleeplessness, night terrors, and other symptoms brought on by the treatment to

which he was subjected all of which affects his ability to function as he did before the incident,
                                          AS AND FOR A FIRST COUNT
                                  42 U.S.C.§ 1983 -EXCESSIVE USE CAF FORCE

           38.         Plaintiff repeats and re-alleges each and every allega~ian contained in paragraph 1

through 37 of this Complaint with the same force and effect as though fully set faith herein.

           39.         Plaintiff was r~evvr accused of o~ charged with having ~r~gaged in co~~duct whi:,h

included any force, threat of force ar attempt to resisC any actions or directions of the Defendants.

Defendants' wrongful conduct illustrated the Defendants' predisposition to abuse, brutally, use of

unbridled deadly and unnecessaryforce and to assault the Plaintiff, with the intent ofcausing serious

and permanent injury.

           40.         The handling and discharge of a firearm towards Plaintiff by Defendants COUNTY,

SANTAMARIA and SCPD t?FFICES 1-~- constituted unreasonable and excessive use of force by

a police officer, as well a~, abuse of process. Such actions were negligent, reckless, careless,

unreasonable and unauthorized9 as Defendants had a duty not to subject P1~intiff to vicious end

abusive police actions, but failed to prevent same and breached their duty, This summary

punishment; threat and use of deadly force and wrongful seizure was in violation of the rights

promised to Plaintiff under the 4th, 5th, and 14th Amendments to the United States Constitution.

In doing so, the I3efendants violated clearly established law and the rights to which Mr. Kirby was

entitled and did so with recklessness, callous indifference to the outcome of their actions and with

malice, all in violation of 42 U.S.C, § 1983.

           41.         As a consequence of Defendants` wrongful actions, intentional, negligent, end

reckless behavior,and violations ofstate and federal Taws,Plaintiff was deprived ofhis freedom,was

iT'ic`~C~~ ~v' Silif~T ii3~LtT1~~T ~Z'f'c`ii ~3?cill c~i2'iC~ ."gitii~T113~~ c`til~ `vVfi$ SUb~eti,iC'u if3 ~IC'c`lt iir2t' c`tZI6~ iC'iT~i~'}3C'TSt3i2c3i
 ~iu~riiii~i~c~ri, deg~-~da~ian, and continued to suffer physical pain and mental and emotiona
                                                                                               l distress

 as a result of the aforesaid unlawful eanduct ~f the Defendants.

         42.     As a direct result of said acts,Plaintiff has suffered and continues to suffer repeated,

 severe and permanent psychological,ematianal and physical trauma and damage,including distress,

 humiliation,embarrassment,property damage,great financial expense and damage Co his reputati
                                                                                                      on,
 and the emotional and psychological trauma as alleged in the preceding paragraphs of
                                                                                              the within
 complaint.

        43.     That by reason ofthe foregoing,Plaintiff suffered and continues to suffer irreparable

iniury and rrlon~t~ry ~arnages ire ex~es~ of FIVE MILiION ($~,O~d,000.00)i)f~LLARS,
                                                                                              as weil as
punitive damages,costs and attorneys fees, and any other relief this Court may find just and
                                                                                                 proper.

                               AS AND FOR A SECOND COUNT
                          42 IJ.S.C. § 1483 -11ZLTNICIPAL LIABILITY

        44.     Plaintiff repeats and re-alleges each and every allegation contained in paragraph 1

through ~3 of this Cc~mp~aint with the same farce and effect as though fu11y set forth herein.

        45.     Prior to January 30,2016 and since,SUFFOLK COUNTY has aermitted and to~er~t~c1

a pattern and pra~~ice of unjustified, unreasonable and illegal uses cif force, abuse
                                                                                      of authority,
beatings, and uses ~f wea~c~ns        by police officers of the SUFFOLK BOUNTY PC}LICE

DEPARTMENT {SCPD)and other local police departments within the jurisdiction
                                                                                         of the SCPD.
This is esp~cidliy tt~e in certain portions ofthe LOLTNTY~,especially with persons who
                                                                                           are African-
American. Although such abuse of authority, illegal use of force, and use of weapons
                                                                                     were
i~nprop~r, the officers involved were nor seriously prosecuted, disciplined, or subjecte
                                                                                         d to restraint,

and such incidents were in fact covered up with c~ffi~i~l el~am~ rh~~ the ~e~tings, use ~f
                                                                                             fc~L~, a~~~
uses of weapons werejustified and proper. As a result,S~~'T7 police officers within theirjurisdiction

were caused and encouraged to believe that civilian persons could b~ beaten or abused under

circumstances nat requiring the use of excessive force, and that such abuse and beatings would in

fact be permitted by the COUNTY .

        4b.     In addition to permitting a pattern and practice of improper beatings and abuses in

the LOI.TNT~,the ~C7UNTY and S~PL? ha~Ze failed to maintain a proper system of investigation of

all incidents of unjustified beatings, abuses of authority, false arrests, and excessive use of force by

police officers,

        4'7.    ?'he COUNTY has fai!~d to respond to the continuing and urg~n~ need tcs preven~,

restrain, and discipline police officers wha wrongfully, beat, abuse authority, use excessive force,

and abuse civilians, and the COUNTY has failed to find that civilian complaints made against police

officers are founded or valid in anyway. Therefore the C{~UNTY is liable under 42 U.S.C. §1983

because the COUNTY has had actual andlor constructive knowledge of the patterns ofabuse and

excessive force against citizens by its police officers, employees, andlor agents in violation of the

United State Constitution. Because ofthe COUNTY and SCPD's un-meaningful policy and custom

for reviewing compiain~s of misconduct, the Defendant Officers relied upon that flawed policy to

continue their patterns Qf their abusive authority, physical abuse, excessive force, and false arrests,

all in violation of the Plaintiff's rights.

        48.     The COUNTY and SCPD have maintained a system ofreview ofunjustified seizures,

beatings, shootings, and excessive use of force by police officers that has failed to identify the

improper abuses of authority, and brutality by police officers and failed to subject officers who

abused, beat andlor brutalized citizens to discipline, to closer supervision, or restraint, to the extent


                                                  -11-
that it has become the custom ofthe COUNTY to tolerate the improper abuses of authority beatings,

illegal arrests and other wrongful actions by police officers.

       49.      further,the COUNTY and SCPD,wha maintain either supervisory andlor decision-

making pasitians, permitted a practice of improper investigation, supervision, discipline and

retention of Defendant Officers. The COUNTY and SCPD also refused and failed to prosecute the

Defendant Officers thereby improperly and in violation of the Plaintiffs' rights neglected, failed,

andlor delayed in administering an investigation ofthe circumstances surrounding the instant matter

and neglected,failed, and/or delayed in presenting the matter to tihe District Attorney of the County

of Suffolk for presentation. tc~ she ~rranc~ J~i~y.

        50.      Upon information and belief, specific systemic flaws in the COUNTY use of force,

brutality re~jiew process include, but are not limited to, the fallowing:

        a.       Preparing reports regarding investigations of beatings and abuse incidents as
                 routine pc~i~t-by-point justifications of police officer actions, regardless of
                 whether such actions are justified;

        b.       Police officers investigating beatings systemically fail to credit testimony by
                 r~c~n_-nc~lice officer witnesses, and uncritically rely on reports by police
                 officers involved in the incident,

        c.       F'c~lice officers investigating beatings tail to include in their reports relevant
                 factual information which would tend to contradict the statements of the
                 police officers involved;

         d.      Supervisory police officers at times issue public statements exonerating
                 police officers for excessive use of force, improper beatings, and use of
                 unnecessary and excessive force before the investigation of the incident by
                 the police department has been completed;

         e.      ~2epor~s in brutality cases are not zeviewed for accuracy by supervisory
                 officers. Conclusions are frequently permitted to be drawn an the basis of
                 ~~early i~a~arr~,~t cY c~ntradictor~j infg~matie~.



                                                      -12-
         51.     Tire foregoing acis,omissions,systemic flaws, policies and customs ofthe Defendants

 ~4JUNTY and SCPD caused the Defendant Officers to believe that brutality and other improper

 actions would not be aggressively,honestly and properly investigated, with the foreseeable result that

 officers are most likely to use excessive force in situations where such force is neither necessary nor

 reasonable.

         52.    ~s a consequence of Defendants' wrongful actions, intentional, negligent, and

reckless behavior,and violations ofstate and federal laws,Plaintiff was deprived ofhis freedom, was

made to suffer physical injuries, great pain and suffering, and was subjected to great fear and terror,

personal h~ami~iati~n, dPgra~ation, and cc~rtin~aed t~ suffer physical pair and mental acid ~r~lot~c~nai

distress as a result of the aforesaid unlawful conduct of the Defendants.

        53.     As a direct result of said acts, Plaintiff has suffered and continues to suffer repeated,

severe and permanent psychological,emotional and physical trauma and damage,including distress,

humiliation,embarrassment,property damage,great financial expense and damage to his reputation,

and the emotional and psychological trauma as alleged in the preceding paragraphs of the within

complaint.

        54.     'That by reason cif foie foregoing,Plaintiff suffered and cc~ntin~es t~ suffer irreparable

injury and monetary damages in excess of FIVE MILLIC7N ($S,Q00,000.00} bOLLARS,as well as

punitive damages,costs and attorneys fees, and any other relief this Court may find just and proper.

                                 AS AND F4R A THIRD COUNT
                                 42 U.S.C. § 1985 -CONSPIRACY

        55.     Plaintiff reheats and realleges each and every allegation contained in paragraph 1

through 54 of this Complaint with the same force ~_n_c~ e_ffe~t ~s though fu11y set fQ:t~~ hervan.



                                                  -13-
        56.     Defendants COUNTY, and SCPD OFFICERS conspired to deprive Plaintiff, an

African-American citizen, of his 1~`, 4`~', 5`'', and 14~' Amendment rights, and jointly caused such

deprivation of rights by acting in concert to unlawfully strike fear and threaten to brutalize Plaintiff

because of, ar on account cif, Plaintiff's race and color.

        57.     Upon information and belief,the Defendants further deprived the Plaintiff of his due

process rights; specifically, by conspiring to unlawfully use force,coverup the use offorce including

the discharge of a firearm and abuse of Plaintiff, a compliant African-American Veteran without

reason orjustification, rule oflaw,and by further denying the Plaintiff his 5~'' Amendment rights via

a conspiracy to cover tY~ie misconduct cif said c~f~icers and officials and tc~ prevent Plaintifffrom being

compensated for their unlawful conduct and unjustified beating causing. the Plaintiff to suffer and

continue t~ suffer severe physical and emotional harm.

        58.     Upon information and belief, the individual SCPD (3FFICBRS were acting in their

personal interests, wholly and separately from the Defendant CCJUNTY. The SCPD OFFICERS

actions were taken separate and apart from their duties to arrest and prosecute suspected criminals.

        59.     Upon information and belief,the individual SCPD OFFICERS took the alleged action

against F'1~intiff because he was attempting to tell police there ~u~s yet need to discharge a weapon

on him, or at him, and speak out against Police Officer's brutality and wrongdoing.

        60.     The actions by Defendants denied the Plaintiff his due process and equal protection

under the law. A11 a~ these rights are guaranteed to the Plaintiff under U.S.C. §§ 193,1985, and

the 15~, 4~", 5`'', and 14`'' Amendments to the United States Constitution.

        61.     As a consequence of Defendants' wrongful actions, intentional, negligent, and

reckless behavior,and violations ofstate and federal laws,Plaintiff was deprived ofhis freedom,was
seriously harmed, was subjected to great fear, terror, personal humiliation and degradation, and

suffered and continues tc~ suffer physical pain and impairment, mental and emotional distress, as a

result of the aforesaid unlawful conduct of Defendants.

       62.     As a direct result of said acts, Plaintiff has suffered and continues to suffer repeated,

severe and permanent psyeholagical,emotional and physical trauma and damage,including distress,

humiliation,embarrassment,property damage,greetfinancial expense and damage to his reputation,

and the emotional and psychological trauma as alleged in the preceding paragraphs of the within

complaint.

       63.     ihat ~y mason of ~~e f~iregoing,Plaintiff suffered ar~d continues to suffer irreparable

injury and mt~netary damages in excess of FIVE MILLICJN ($5,000,000.00)DOLLARS,as well as

punitive damages,casts and attorney fees, and any other relief this Court may find just and proper.




       64,     Plaintiff r~pea~s and realieges each and every a~le~ation crsntained in paragraph 1

tl~ou~h 63 of this Com~rlaint with the same force and effect as ~hou~h fully set forth herein.

       b5.     The Defendants COUNTY,its agents and employees, the SCPD, in its agents and



QFFICERS JOHN DOES 1-4, in their individual and official capacity, deprived Plaintiff of his

Fourth, Fifth, Sixth and Fourteenth Amendment rights, and caused such deprivation of rights by

unlawfully using deadly and unreasonable force and threat of bodily harm as described above in

paragraphs 1 through 60 of this Cc~mpl~int. Said acts were m~tiv~ted by race aid coi6r, and were

~~rk~~ ~y the c~nda~et ~f I?efend~~t~ ~€~ s~~p~r~ the mQti;=ati~r~,



                                                 -15-
        66.     C1pan information and belief,the Defendants COUNTY,SCPD,and SANTAMARIA

further deprived the Plaintiff of his due process rights; specifically by discharging his weapon and

engaging in summary punishment and use of force to deprive Plaintiff of his rights to proper and

non-violent treatment without proper cause ar suspicion, proper investigation, rule of law and by

further denying the plaintiff his Fifth Amendment rights via an attempt to cover up the misconduct

of paid officers and officials and to prevent plaintiff from being compensated for his being

wrongfully subjected to the use offorce and threats of serious bodily harm arising from the discharge

of a firearm, and other physical and emotional harm incurred.

        67.     Ire furt'~~rance e~f said conduct,t~~e Defendant officer prolonged the Plaintiff's fear for

his life and safety, by failing to investigate Plaintiff's protests that there was no need to use firearms

or discharge a firearm into his car and at his person.

       68.      Said actions by Defendants COUNTY, SCPD, and SANTAMARIA denied the

Plaintiff his Due Process, and denied him the equal protection under the law. All of these rights are

guaranteed to the Plaintiff under U.S.C. §§1981. Said acts were motivated by race and color, and

were marked by the conduct of Defendants to support the motivation.

       6~.      ~y assisting in the ~~se oaf deadly force,the threat of deadl~j pr€~longed detainment and

false charges against the Plaintiff, COUNTY,SCPD, and SANTAMARIA acted with the shared

purpose of denying Plaintiff his rights to freedgm of movement, protection from unlawful seizure,

procedural and substantive due process, and the right Co equal protection under the laws. These

rights are guaranteed to the Plaintiff under 42 LT,S.C. §1981.

       70.     As a result of said conduct by the Defendants COUNTY, SCPD, and

SANTAMARIA, the Plaintiff has been subjected to unnecessary and unsubstantiated charges,
detention, court appearances, anti other clue process vioiatians.

       7~.     Plaintiff further suffered severe humiliation, anxiety, fear, and emotional and

psychological harm, as a direct result of being subjected to the use of force and threats of serious

bodily harm, and death, arising from the discharge of a firearm.

       72.     As a direct result of said acts,Plaintiff has suffered and continues to suffer repeated,

severe and permanent psychological,emotional and physical trauma and damage,including distress,

humiliation,embarrassment,property damage,greatfinaneial expense and damage to his reputation,

and the emotional and psychological trauma as alleged in the preceding paragraphs of the within

ccmp~aint.

       ~3.     That by reason of the foregoing,Plaintiff suffered and continues to suffer irreparable

injury and monetary damages in excess of FIVE MILLION ($5,400,000.00)D{~LLARS,as well as

punitive damages, costs and attorney fees, and any other relief this Court may find just and proper.

                                 AS AND FOR A FIFTH COUNT
                                       NEGLIGENCE
                                  PENDENT JURI5DICTIQN

       74.     Plaintiff repeats and realleges each and every allegation contained in paragraph 1

Though i:~ of his complaint with the same force and effect as though iu1~y set forth herein.

        75,    In the acts complained of herein, Defendant BOUNTY and SCPD OFFICERS acted

negligently in that they had a duty to act reasonably and responsibly and not to act in a manner to

beat, brutalize and physically harm Plaintiff. Defendant(.officers had a duty not to beat, brutalize, car

otherwise abuse Plaintiff. Defendant Officers had a duty to act as would prudent officers, by not

taking actions which would unnecessarily physically harm Plaintiff and other persons similarly

situated, and acting within the scope of their authority, and not using excessive force or otherwise


                                                  -17-
~%iolating the Constitutional and civil rights of Plaintiff. Defendant Officers, in their actions,

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       76.     Further, Defendants COUNTY and SCPD OFFICERS, their agents, employees,

andlor servants, vifliated the Plaintiff's rights secured under United States Constitution and 42

U.S.C. § 1983, and were careless, negligent and reckless in the care and treatment of Plaintiff by

failing to hire, supervise, discipline, and investigate the Defendant Officers involved in the instant

matter. Defendants COUNTY and SCPD OFFICERS knew ar should have known ofthe Defendant

SCPD OFFICERS' propensities for the conduct which caused severe physical harm to Plaintiff.

       77.     r1s a consequence of Defendants' wrongful actions, intentional, negligent, and

reckless behavior,and violations ofstate and federal haws,Plaintiff was deprived of his freedom,was

seriously injured, was subjected to great fear, terror, personal humiliation end degradation, and

suffered and continues to suffer physical pain and impairment, mental and emotional distress, as a

result of the aforesaid unlawful conduct of Defendants.

       78.     That by reason ofthe faregaing,Plaintiff suffered and continues to suffer irreparable

injury and monetary damages in excess of FIVE MII.,LION ($S,Ofl0,000.00)DOLLARS,as well as

punitive damages, cysts and attorney fees, and any other relief this Court may find just and proper.




       79.     Plaintiff repeats and realleges each and every allegation contained in paragraph 1

though '18 of this Comp1_aint with the same force and effect as though fu11y set forth herein.

       80.     Defendants COUNTY and SCPD t~FFICERS having illegally and unlawfully used

                                   ff deadly force, shot into Plaintiff's ear, abused, and physically
r~is~r~a~~~ ~la~~tiff vi~ia~~~ ~~e ~i~ts Gf i~ie ~iaintii~ as well as the iaws of the State of ivew Park.

        81.     DefendantSCPD OFFICERS wrongfully,unlawfully and without privilege,consent,

emergency, necessity, or justification, forced Plaintiff to endure violent and deadly force used and

threatened and physical abuse. Plaintiff at no time cansented to such abuse or seizure of his person

by Defendant Officers. Said actions were intentional and aimed at injuring and causing Plaintiff harm

cliscomfart, pain anc~ humiliation.

        82.     Plaintiff was subjected to being fired upon, and physically abused against his will.

Plaintiff committed no violation andlor act to justify or rationalize such illegal and unlawful conduct

by the Defendant SCPD OFFICERS.

        83.     Defendant SCPD OFFICERS did intentionally discharge a firearm with no reason or

legal authority to do so and did abuse Plaintiff, placing him in fear ofimminent danger andlar bodily

harm andlor death, and subjected him to great pain and injury by virtue of Defendant Officers'

conduct including, but not limited to, the unwarranted and unjustified excessive use of force on

Plaintiff's body.

        84.     As a consequence of Defendants' wrongful actions, intentional, negligent, and

be~kless'~ehavior,and vic~la~ior~s cif state aid f~~era~ laws,P~aintiif c~%as d~privecl cif his freedom,was

seri€~usly harmed, was subjected to great fear, terror, personal humiliation and degradation, and

suffered and continues to suffer physical pain and impairment, mental and emotional distress, as a

result of the aforesaid unlawful conduct of Defendants.

       85.      That by reason ofthe foregoing,Plaintiff suffered and continues to suffer irreparable

injury and monetary damages in excess of FIVE MILLION ($5,000,000.00} DOLLARS,as well as

punitive damages, costs and attorney fees, and any other relief this Court may find just and proper.


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                                  1~7 t~ii"~1'~ ~Q~ t"i ~~Y1~.~1~i 1~U'11T~'
                                         ABUSE t}F PROCESS
                                       PENDENT JURISI}ICTION

         86.     Plaintiff repeats and realleges each and every allegation contained in paragraph 1

though 8S of this Complaint with the same force and effect as though fu11y set forth herein.

         87.     Defendants' were clearly engaged in the improper exercise of their police power,the

re~~~rces ~f go~%~mment, use of excessive and unreasonable force, as we11 as an abuse of process.

         88.     That the assault, battery, excessive and unreasonable use of force, and violation of

Plaintiffs civil rights were brought about and caused by the actions of Defendants and that the same

were a clear and intentional abuse of process pausing Plaintiff severe damage.

         ~9.     As a result of said abuse of process,Plaintiff has suffered continued emotional damage,

including prolonged stress and anxiety, fear, and frustration, and has been harmed monetarily in his

incurring of attorney fees, property damage.

        90.      That by reason of the foregoing,Plaintiff has been placed in fear ofhis life,emotional

damages, distress, pain, suffering, loss of self esteem, self doubt and exposed him to disgrace,

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Lang time, was deprived his Constitutic~~~l rights and has been damaged ~n the s~~m ~f FINE

MILLION ($5,00O,OOQ.00}DOLLARS.

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                              1                        !           i !_           1
                                             r           ~    ~
        91.      Plaintiff repeats and realleges each and every allegation contained in paragraph 1

though 90 of this Complaint with the same farce and effect as though fully set forth herein.

        ~~.      ~'he ~OUNT~ and SCPD OFFICERS acted outrageously for their above-stated roles
ire the use c~~' deadly iaree, wrongful stop, aeiainment, false arresC, prolonged captivity, assault,

battery, intimidation and public humiliation of the Plaintiff.

        93.        Said emotional harm was exacerbated by the fabricated criminal charges against the

Plaintiff, known by COUNTS and SCPD OFFICERS to be without basis, yet prosecLlted Plaintiff

with the intention of causing extreme further harm and duress to the Plaintiff.

        94.        In light of the Plaintiffs physical illness, saki conduct was even more autra~eous,

eallaus, malicious, and dangerous to the emotional well-being of sand PlaintifF.

        95.        The Defendants knew that their conduct would cause severe and extreme em~ational

harm tc~ Pl~intiff~

        96.        That by reason ofthe foregoing,Plaintiff has been placed in fear of his life, emotional

damages, distress, pain, suffering, loss of self esteem, self doubt and exposed him to disgrace,

public humiliation and embarrassment was prevented from attending her work and business for a

long time, was deprived his Canstit~ltianal rights and has been damaged in the sum of FIVE

              '~                 •

        WHEREFORE Plaintiff demands judgment against Defendants:

        a.         ors the First Court in the sum of Fi~ I'~/iILLiC)N ($S,OOG,~i0t3.Ot~} I~~I..~.nl~ S.

        b.         on the Second Count in the sum of FIDE 1VIILL.ION ($S,OOO,Ofl0.00} COLLARS.

        c.         on the Third Count in the sum of FZVE MILLION {~S,p00,000.p0} DOLLARS,

        d.         on the Fourth Count in the sum of FINE MII,L,ION ($S,OOO,OOQ.00) DOLLARS,

        e.         on the Fifth Count in the sum of FIVE MILLION ($5,000,000.00} DOLLARS.

       f.          on the Sixth Count in the sum of FIVE MILLION ($5,000,000.00) DC}LLARS.
      g.     ~s~ ~i~e ~~ventn amount in the sum or ~'Iv~ IVi1ZL1"t~N (~S,t~(~~,UO~.UO) ~~L~.,ARS.



       L    Punitive damages in the amount of TEN MILLION {$l0,OQ0,000} DOLLARS.

      j.     Award attorney's fees and casts of this action to the Plaintiffs pursuant to 42 U.S.C.
              198$;

      k.    Declaratory Judgment that defendants wilfully violated plaintiffs` rights secured b}7
            federal and state law as alleged herein;

            Injunctive relief, requiring defendants to correct alI past violations of federal and
            state law as alleged herein; to enjoin defendants from continuing to violate federal
            and state law as alleged herein; and to order such other injunctive relief as may be
            appropriate to prevent any future via~ations of said federal and state laws;

      m.    Award such other and further relief as this Court may deem appropriate.

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Dated: Hempstead, New York
       January 3, 2017
                                                   Respectfully submitted,

                                                   THE LAW GFFICES C7F a--~~~~_~~~°`~~
                                                   FREDERICK K. BREWlr'~1~T(JN


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